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                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA


DR. DOROTHY NAIRNE, JARRETT                        Case No. 3:22-cv-00178-SDD-SDJ
LOFTON, REV. CLEE EARNEST LOWE,
DR. ALICE WASHINGTON, STEVEN
HARRIS, ALEXIS CALHOUN, BLACK                      Chief Judge Shelly D. Dick
VOTERS MATTER CAPACITY BUILDING
INSTITUTE, and THE LOUISIANA STATE
                                                   Magistrate Judge Scott D. Johnson
CONFERENCE OF THE NAACP,

          Plaintiffs,

v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State of Louisiana, et al.

          Defendants.



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                                           ORDER

       Considering the foregoing motions to continue:

       IT IS ORDERED that the motions to expedite consideration and accelerate the briefing

schedule (R.Docs 107 and 112) are GRANTED and accordingly, the Court orders briefing on the

following schedule:

              Plaintiffs response to the motions due by July 31, 2023;

              Defendants’ and Intervenors’ reply, if any, due by August 4, 2023.

       SIGNED this _____ day of ___________________, 2023 at Baton Rouge, Louisiana.



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                                            HONORABLE SHELLY D. DICK
                                            MIDDLE DISTRICT OF LOUISIANA


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